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                                                              February 27, 2025

 VIA ECF

Honorable Cathy L. Waldor, U.S.M.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

        Re:      In re Selenious Acid Litigation, C.A. No. 24-cv-7791 (BRM)(CLW) (consolidated)

 Dear Judge Waldor:

         We, along with Sterne, Kessler, Goldstein & Fox P.L.L.C., represent Plaintiff American
 Regent, Inc. (“ARI”) in the above-referenced matter. With counsel for all Defendants, we write
 to request a two-week extension of the deadline by which the parties may file a joint motion to
 seal the submissions associated with ARI’s Motion for a Preliminary Injunction (ECF Nos. 86-95,
 126, and 131).

         Per Local Rule 5.3(c)(2), the current deadline to file a motion to seal is March 10, 2025.
 The parties are therefore seeking to have the deadline extended to March 24, 2025. If the Court
 finds this request acceptable, the parties respectfully request that Your Honor “So-Order” this letter
 and direct its entry on the docket.

         Should Your Honor have any questions or would like to discuss this matter further, the
 parties will make themselves available at the Court’s convenience. The parties thank the Court for
 its consideration and assistance in this matter.



                                                              Respectfully submitted,


                                                              s/ Charles H. Chevalier______
                                                              Charles H. Chevalier


 cc: Counsel of record via ECF and e-mail




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